                       UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF WISCONSIN
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TIMOTHY J. FAST,
on behalf of himself and all
others similarly situated,

               Plaintiff,

v.                                                    Case No.: 16-CV-1637

CASH DEPOT, LTD.,

            Defendant.
______________________________________________________________________________

                DECLARATION OF JODI ARNDT LABS IN SUPPORT OF
                         DEFENDANT'S REPLY BRIEF

       I, Jodi Arndt Labs, declare as follows:

       1.      I am a shareholder and attorney at the Law Firm of Conway, Olejniczak & Jerry,

S.C., legal counsel for Defendant, Cash Depot, Ltd. (“Cash Depot”).

       2.      I submit this Declaration in Support of Defendant’s Reply Brief on Defendant’s

Motion to Dismiss for Mootness Grounds and Motion for Summary Judgment.

       3.       I participated in the teleconference meeting with Attorney James Walcheske and

Amy Bradley on July 20, 2017 wherein we went over Schenck’s wage calculations, including the

methodology Amy Bradley and her team applied. During the July 20th discussion we explained

to Attorney Walcheske that Schenck’s formula factored in the fact that Cash Depot had already

paid Mr. Fast overtime on all hours worked in excess of 40 hours per workweek at the overtime

rate of 1.5 times his normal hourly rate of $15.00.

       4.      As part of Cash Depot’s responses to Mr. Fast’s First Set of Interrogatories and

Request for Production of Documents (“Cash Depot’s Discovery Responses”), Cash Depot




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provided Mr. Fast and his legal counsel with copies of his weekly timesheets. Attached as

Exhibit 1 is a true and correct copy of the timesheets we provided to Mr. Fast; they were

attached as part of Exhibit A to Cash Depot’s Discovery Responses.

       5.      Cash Depot also provided a copy of a payroll register that showed the wages paid

to Mr. Fast during each pay period, including a break down on the number of regular pay hours,

overtime hours, on call pay, vacation pay, holiday pay, etc. Attached as Exhibit 2 is a true and

correct copy of the Payroll Register Cash Depot provided to Mr. Fast; the Payroll Register was

also part of Exhibit A to Cash Depot’s Discovery Responses. The Payroll Register confirms that

Cash Depot paid overtime compensation at the rate of $22.50/hour for each hour of overtime Mr.

Fast worked during a workweek.

       6.      None of the former or current employees Cash Depot paid the additional overtime

that Schenck had determined was owed to them have raised any objections to Cash Depot

concerning such payment.

       I declare under penalty of perjury that the foregoing is true and correct.

       Executed this 15th day of September, 2017 at Green Bay, Wisconsin.


                                               /s/ Jodi Arndt Labs.___




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